Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 1 of 8 Page ID
                                #:10522
                                                        DEFENDANTS' EXHIBIT 44
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 2 of 8 Page ID
                                #:10523
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 3 of 8 Page ID
                                #:10524
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 4 of 8 Page ID
                                #:10525
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 5 of 8 Page ID
                                #:10526
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 6 of 8 Page ID
                                #:10527
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 7 of 8 Page ID
                                #:10528
Case 2:85-cv-04544-DMG-AGR Document 299-3 Filed 12/16/16 Page 8 of 8 Page ID
                                #:10529
